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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                           Case No. 13-cr-273 (SRN/FLN)

             Plaintiff,

v.                                                  MEMORANDUM OPINION
                                                        AND ORDER
Lachlan Scott McConnell (6),

             Defendant.


Linda I. Marks, Jacqueline Blaesi-Freed, U.S. Department of Justice, Consumer
Protection Branch, 450 Fifth Street Northwest, Suite 6400, Washington, District of
Columbia 20001, and Roger J. Gural, U.S. Department of Justice, Civil Division, P.O.
Box 386, Washington, District of Columbia 20044, for Plaintiff.

Ryan M. Pacyga and Marie C. Pacyga, Pacyga and Associates, PA, 333 South Seventh
Street, Suite 2850, Minneapolis, Minnesota 55402, for Defendant.


SUSAN RICHARD NELSON, United States District Judge

I.    INTRODUCTION

      This matter comes before the undersigned United States District Judge on Defendant

Lachlan Scott McConnell’s Objections [Doc. No. 759] to United States Magistrate Judge

Franklin L. Noel’s Report and Recommendation (“R&R”), dated December 23, 2016 [Doc.

No. 744].1 The magistrate judge recommended that McConnell’s motion to suppress [Doc.


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  The Government also filed limited objections to the R&R, focusing on one alleged error
in the magistrate judge’s reasoning, and one factual error. (See Gov’t Limited Obj. [Doc.
No. 761]. Discussion of the alleged reasoning error is incorporated within this Order, and
need not be otherwise addressed. As to the factual error, the Government contends that
the magistrate judge erred in stating that “[t]he Government claims that the black flash
drive contains classified material.” (See R&R at 7 n.2.) According to the Government, it
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No. 599], motions to dismiss and suppress [Doc. Nos. 600, 604, and 616], and motions to

suppress electronic surveillance [Doc. Nos. 603 and 623] be denied.

       Pursuant to statute, this Court reviews de novo any portion of the magistrate judge’s

opinion to which specific objections are made, and “may accept, reject, or modify, in whole

or in part, the findings or recommendations” contained in that opinion. 28 U.S.C. §

636(b)(1)(C); see also Fed. R. Crim. P. 59(b)(C); D. Minn. LR 72.2(b)(3). Based on that de

novo review, and for the reasons set forth below, the Court overrules Defendant’s objections

and adopts the R&R in its entirety, with one clarification regarding statutory presentment.

II.    BACKGROUND

       The facts underpinning McConnell’s motions have been thoroughly and accurately

documented in the Factual Background section of the R&R, which the Court incorporates

herein by reference. Briefly stated, in November 2013, McConnell and ten other defendants

were indicted in connection with a scheme to market and sell illegal prescription drugs in

the United States. (See Indictment [Doc. No. 5] ¶ 1.) Of particular relevance here, the

Indictment alleges that McConnell “assisted with various aspects of the [scheme’s]

operations, including establishing corporations, bank accounts, credit cards, and shipping

accounts, and pharmacy recruitment in the United States.” (Id. at ¶ 10.) He has been

charged with one count of conspiracy to violate the Federal Food, Drug, and Cosmetic Act

(“FDCA”), eleven counts of introducing misbranded drugs into interstate commerce, in

violation of the FDCA, one count of conspiracy to commit wire and mail fraud, eleven

does not claim that the black flash drive seized from McConnell contains classified
material. (See Gov’t Limited Obj. at 1-2.) The Court notes the Government’s
clarification of its position.
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counts of mail fraud, six counts of wire fraud, and five counts of unlawful distribution and

dispensing of controlled substances, in violation of the Controlled Substances Act. (See

generally Indictment.)

       Although McConnell was indicted in 2013, he was not arrested for several years. At

the time of the indictment, McConnell was a resident of the Philippines. Upon learning of

the charges that had been brought against him, McConnell contacted the Federal Defender’s

Office for the District of Minnesota, and was appointed CJA counsel—Messrs. Andrew

Birrell and Paul Dworak. (Hr’g Tr. [Doc. No. 644] at 199, 260.) Birrell and Dworak

contacted McConnell several times over the course of 2014, and in August of that year

notified the Government that McConnell was interested in cooperating. (Id. at 177-78.)

The parties discussed options for transporting McConnell to the United States, but those

discussions concluded without agreement in September 2014.           (Id. at 178, 183.)    In

particular, one subject that proved a sticking point was the best way to get McConnell from

the Philippines to Minnesota without unnecessary delay. (Id. at 179.) Because no direct

commercial flights exist between Manila and Minneapolis, the parties were concerned that

McConnell’s prompt presentment right would require him to be presented before a

magistrate judge in California, delaying his arrival in this jurisdiction. (Id.) To circumvent

that difficulty, the parties considered a possible waiver of McConnell’s presentment rights.

(Id. at 179-80.) Although no agreement was reached, Birrell and Dworak testified before

the magistrate judge that they informed the Government that they continued to represent

McConnell at least into early 2015. (Id. at 138.)

       McConnell is a Canadian citizen. Sometime in early 2016, the Canadian government

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revoked his passport. (Id. at 247.) In light of his status as a fugitive from U.S. justice and a

foreigner present without a valid passport, the government of the Philippines charged

McConnell with being an “unwanted/undesirable,” and he was arrested by Filipino

immigration officers on April 19, 2016. (See Hr’g Def. Ex. 2.) During the arrest, a single

officer of the U.S. Drug Enforcement Administration (“DEA”), Special Agent Christopher

Mueller, was present, but did not actively participate. (See Hr’g Tr. at 193, 196.)

       McConnell was taken to the Philippines Bureau of Immigration office in Manila,

where he was brought to an office to meet with Special Agent Mueller. (Id. at 194, 197-98.)

After brief questioning regarding his identity, language proficiency, etc., Special Agent

Mueller presented McConnell with DEA Form 13-A: Oral Warnings to be Given to a

Subject Prior to Interrogation. (See Hr’g Gov’t Ex. 9.) The form set forth McConnell’s

right to remain silent, advised that any statements made during questioning might be used

against him, indicated that he had the right to an attorney, and that if he could not afford an

attorney one would be appointed for him. (Id.) The document further asked if McConnell

would be willing to answer some questions.            (Id.)   After reviewing the document,

McConnell signed it, and was further briefly questioned by Special Agent Mueller. (Hr’g

Tr. at 255, 258.)

        Following his interview with Special Agent Mueller, McConnell was detained by

Philippines immigration authorities at a holding facility in Bicutan, Philippines, pending his

deportation.   (Id. at 199.)    According to McConnell, conditions at the facility were

substandard and he did not feel safe there. (Id. at 201-02.) Nonetheless, throughout his

detention, McConnell retained access to his cell phone and two laptop computers, as well as

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various hard drives, a thumb drive, a printer, and the internet. (Id. at 199, 264, 276.) In

addition, McConnell was in regular contact with Special Agent Mueller, a close friend and

“mentor” by the name of Jeff Williams, who had formerly worked for the U.S. Embassy in

Manila, and personnel from the Canadian embassy. (Id. at 224, 225, 265, 268-69; Hr’g Def.

Ex. C.). McConnell did not attempt to contact either Birrell or Dworak during his detention

at Bicutan. (Hr’g Tr. at 264-65.)

       Shortly after his arrest, McConnell contacted Special Agent Mueller regarding

arranging transportation to the United States. (Id. at 266, 272; Mueller Aff. [Doc. No. 667,

Ex. A] ¶ 12.) Although he was aware that he could have sought deportation to Canada,

where he would have been entitled to a lawyer in order to fight extradition to the United

States, McConnell determined that travel to the United States was the preferable option to

avoid delay in resolving his case. (Hr’g Tr. at 210, 272; Mueller Aff. ¶ 12.) Accordingly,

over the next several weeks, McConnell worked with Special Agent Mueller and Canadian

officials to secure the documentation required to allow him to leave the Philippines. (Hr’g

Tr. at 205-06, 274.) Importantly, although McConnell’s itinerary identified his ultimate

destination as Vancouver, Canada, all parties—including Canadian consular officials—

apparently understood that he would be detained by U.S. officials in Los Angeles. (Id. at

280-81; Mueller Aff. ¶ 14.)

       While in custody in Bicutan, McConnell asked Special Agent Mueller if the DEA

had the capabilities to repair an inoperable hard drive in his possession that he thought

might be of use to them in their investigation. (Hr’g Tr. at 224; Hr’g Def. Ex. C.) At

McConnell’s request, Jeff Williams delivered the hard drive—along with two other hard

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drives—to the DEA. (Hr’g Tr. at 225.) Although McConnell testified that he was “very

surprised” that Williams had included the additional hard drives in the delivery, he did not

ask for their return or otherwise indicate that the DEA should not search them. (Id. at 225,

275-76.)

       After finally securing the necessary travel documents, McConnell traveled by

commercial flight from Manila to Los Angeles on June 1, 2016. Although Special Agent

Mueller and one other DEA agent escorted McConnell, he was not handcuffed during the

flight, and was free to move about the aircraft. (Id. at 287.) At some point during the flight,

Special Agent Mueller gave McConnell a form purporting to be a waiver of his prompt

presentment and location of presentment rights, which McConnell read. (Id. at 289-91;

Hr’g Gov’t Ex. 2.)

       McConnell testified at the hearing before Magistrate Judge Noel that upon landing in

Los Angeles, he was escorted off the plane by DEA agents and taken to an interview room

in the airport terminal. (Hr’g Tr. at 16, 18-20.) While in the interview room, DEA Agent

Kimberly Brill informed McConnell that he was under arrest, advised him of his Miranda

rights, and presented him with a copy of DEA Form 13: Advice of Rights, which

McConnell reviewed and signed. (Id. at 22, 34, 77, 98, 288; Hr’g Gov’t Ex. 1.) McConnell

was also presented with the waiver of presentment form that he had been shown earlier by

Special Agent Mueller. (Hr’g Gov’t Ex. 2.) After reviewing the form, McConnell signed it

as well. (Hr’g Tr. at 31-32, 290.)

       During the subsequent interview, McConnell indicated that he was in possession of

two laptop computers and a cell phone. (Id. at 112-13.) He was then presented with two

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copies of DEA Form 88: Consent to Search. (See Hr’g Gov’t Exs. 3 and 4.) These forms

identified the seized electronic devices that the agents wished to search, namely, the three

hard drives that Williams had given to Special Agent Mueller, the two laptops, and the cell

phone. (Hr’g Tr. at 113-14.) McConnell reviewed and signed both forms. (Id.)

        Around midnight, McConnell was escorted by DEA agents on a redeye flight to

Minneapolis, which arrived at 5:30 AM on June 2, 2016. (Id. at 41-42, 118.) McConnell

was subsequently presented and arraigned before Magistrate Judge Tony N. Leung at the

federal courthouse in St. Paul, Minnesota, and then released to a local halfway house. (See

id. at 44; Minute Entry [Doc. No. 539].)           The following day, DEA agents brought

McConnell his luggage and many of his personal effects. (Hr’g Tr. at 44-45.) While at the

halfway house, McConnell volunteered the password to one of his laptop computers, and

offered to show an agent the location of certain materials stored on the device. (Id. at 46.)

III.    DISCUSSION

        As previously noted, the R&R addressed several motions filed by McConnell

seeking to suppress various statements made to, and physical evidence seized by, the

Government. For clarity, the Court will address those motions in the order in which they

were presented in the R&R.

        A.    Motion to Suppress [Doc. No. 599]

        McConnell first moves to suppress any evidence obtained from the various

electronic devices seized by the Government in the interim between his detention at the

Bicutan facility on April 19, 2016 and his arrival in Minneapolis on June 2, 2016. (See

generally Def.’s Mot. to Suppress.) Because the Government did not obtain a warrant

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before the search and seizure of these devices, McConnell contends that the Government

must show that its actions fit within one of the specifically established exceptions to the

Fourth Amendment warrant requirement. (See Def.’s Mem. in Supp. of Pretrial Mots.

[Doc. No. 652] at 24.)      In response, the Government argues (1) that as an alien,

McConnell is not entitled to Fourth Amendment protections for items seized outside of

the United States; and (2) to the extent the Fourth Amendment does apply, the

Government has met its burden of showing that McConnell consented to the search. (See

Gov’t Resp. [Doc. No. 667] at 46.) On this second point, McConnell argues that his

consent was coerced and was thus invalid as a matter of law. (Def.’s Mem. in Supp. of

Pretrial Mots. at 28.)

       The magistrate judge concluded that he did not need to address the Government’s

first argument because McConnell had clearly and voluntarily consented to the search

and seizure of his electronic devices. (R&R at 8.) In support, Judge Noel noted that

McConnell is an educated adult who had been advised of his rights, and had—throughout

the period in question—the ability to communicate with friends and advisers, including

his attorneys Birrell and Dworak. (Id. at 8-9.) Although he did not have to, McConnell

volunteered to provide the inoperable hard drive to Special Agent Mueller shortly after

being detained at Bicutan. Judge Noel further observed that though McConnell did not

authorize his friend Jeff Williams to deliver the other two hard drives to Special Agent

Mueller, and expressed surprise that they had been handed over, at no point did he object

to their search. (Id. at 9.) On the whole, the magistrate judge found that it was not

unreasonable to conclude that McConnell had consented to the search of all three hard

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drives. (Id.) Finally, with regard to McConnell’s two laptop computers and cell phone,

Judge Noel concluded that McConnell had voluntarily consented to the search when he

signed the Consent to Search forms in Los Angeles.

       Although McConnell objects to Judge Noel’s legal conclusions regarding his

motion to suppress, the Court finds that it need not address those objections here.

Subsequent to the hearing before the magistrate judge, the parties apparently reached

agreement that the Government would not use any of the evidence derived from its

searches of the electronic devices during its case-in-chief. (See Def.’s Mem. in Supp. of

Obj. [Doc. No. 760] at 3 n.2; Gov’t Resp. to Def.’s Obj. [Doc. No. 783] at 4.)

Accordingly, both McConnell and the Government have advised the Court that this

objection is moot.      (Id.)   Based on the parties’ representations, the Court agrees.

Defendant’s objections to the Magistrate Judge’s R&R—insofar as they relate to the

Motion to Suppress—are accordingly overruled as moot. See United States v. Tenerelli,

No. 07-cr-194(1), 2008 WL 420018, at *2 (D. Minn. Feb. 13, 2008) (denying motion to

suppress as moot based on government’s representation that it did not intend to use at-

issue statements in its case-in-chief).

       B.        Motions to Dismiss and Suppress Statements [Doc. Nos. 600, 604, 616]

            1.      Objections Based on the Fifth and Sixth Amendments

       McConnell argues that his statements made to DEA agents on April 19, 2016 and

June 1, 2016 were obtained in violation of rights guaranteed to him by the Fifth and Sixth

Amendments. (See generally Def.’s Mem. in Supp. of Pretrial Mots. at 13-24.) In

particular, although he concedes that he was apprised of his Miranda rights and opted to

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waive those rights on both dates, McConnell contends that his consent was the product of

coercion and was thus invalid. (Id.) He further asserts that the Government improperly

elicited statements from him outside the presence of counsel, despite knowing that he was

represented by Messrs. Birrell and Dworak. (Id.) In light of these alleged Constitutional

deficiencies, McConnell argues that the Court should suppress the at-issue statements

and/or dismiss the indictment against him. (Id. at 24, 40.)

       The Fifth Amendment provides in relevant part that “[n]o person . . . shall be

compelled in any criminal case to be a witness against himself . . . .” In furtherance of

this right, the Supreme Court has held that evidence obtained as a result of a custodial

interrogation may only be used against a defendant if he (1) is advised of his Miranda

rights; and (2) voluntarily, knowingly, and intelligently waives those rights. See United

States v. Vanover, 630 F.3d 1108, 1114 (8th Cir. 2011) (citing Miranda v. Arizona, 384

U.S. 436, 444 (1966)). A waiver is “knowing” if it is “made with a full awareness of

both the nature of the right abandoned and the consequences of the decision to abandon

it.” Moran v. Burbine, 475 U.S. 412, 421 (1986). It is voluntary if it is “the product of a

free and deliberate choice rather than intimidation, coercion, or deception.” Id. The

government bears the burden of showing that a defendant’s Miranda waiver meets these

requirements—failure to do so will result in any implicated statements being ruled

inadmissible. Miranda, 384 U.S. at 475; Stansbury v. California, 511 U.S. 318, 322

(1994).

       As relevant here, the Sixth Amendment grants the defendant the right to the

assistance of counsel “[i]n all criminal prosecutions.” The Supreme Court has interpreted

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this right to mean that the defendant must be allowed to have counsel present at all

“critical” stages of the criminal proceedings. Montejo v. Louisiana, 556 U.S. 778, 786

(2009).   “Once the Sixth Amendment right to counsel attaches, law enforcement

authorities cannot ‘deliberately elicit’ incriminating statements from the accused in the

absence of counsel.” United States v. Criswell, 696 F.2d 636, 639 (8th Cir. 1983). Just

as with his Fifth Amendment right against self-incrimination, the defendant may waive

his Sixth Amendment right to counsel so long as the waiver is voluntary, knowing, and

intelligent. Montejo, 556 U.S. at 786. Importantly, he may do so “whether or not he is

already represented by counsel,” and his decision to waive “need not itself be counseled.”

Id. Generally, so long as a defendant has been read his Miranda rights, his decision to

waive his right to counsel will be considered knowing and intelligent. Id.; see also

Patterson v. Illinois, 487 U.S. 285, 296 (1988).

       Reviewing the evidence against these standards, Judge Noel concluded that

McConnell knowingly, voluntarily, and intelligently waived his Fifth and Sixth

Amendment rights before making the statements at issue here. (See R&R at 12-13.) This

Court agrees. Looking first to the statements made on April 19, 2016, two important

facts stand out. First, it is undisputed that before being questioned by Special Agent

Mueller, McConnell was presented with—and signed—a form advising him of his

Miranda rights.    Second, although McConnell contends that the “DEA created the

situation that [his] only meaningful way to leave Bicutan detention facility was to do

DEA’s bidding”—implying that McConnell was coerced into making statements in order

to escape indefinite incarceration in the Philippines—the April 19 questioning took place

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both before McConnell had been sent to Bicutan and before he claimed that he offered to

cooperate with the DEA in order to achieve expedited release. Thus, whatever potential

for coercion Bicutan may have offered was not implicated at this initial interview.

Instead, McConnell’s own testimony demonstrates that the first meeting with Special

Agent Mueller was brief and amicable, and that in the following weeks, McConnell was

an active and willing participant in cooperating with the DEA.

      Similar facts vitiate any concerns relating to possible coercion on June 1, 2016.

The record reveals that before being questioned both on the flight to Los Angeles and at

the DEA facility at Los Angeles International Airport, McConnell was properly advised

of his Miranda rights, and once again chose to waive those rights and speak with DEA

officials. Any claim that at this point in time McConnell was still under the coercive

threat of remaining in Bicutan—now located several thousand miles away—is plainly not

credible. Likewise, the Court finds no merit in the argument that because McConnell was

handcuffed and in the presence of armed officers at the time of the second questioning, he

was necessarily subject to coercive pressure. The Eighth Circuit has made plain that

these facts alone are insufficient to demonstrate lack of voluntariness in a waiver of

Miranda rights. See, e.g., United States v. Comstock, 531 F.3d 667, 677 (8th Cir. 2008)

(handcuffing not unduly coercive); United States v. Axsom, 289 F.3d 496, 501 (8th Cir.

2002) (presence of nine armed officers during interview not unduly coercive). Absent

those facts, the Court sees nothing in the record that indicates coercion. McConnell is an

educated adult with extensive experience with law enforcement and high pressure

situations. By his own description, he was treated “very, very well” by the DEA agents

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in Los Angeles. (Hr’g Tr. at 288.) Taken as a whole, McConnell’s claims of coercion on

June 1, 2016 are not plausible.

       Finally, the Court finds no merit to McConnell’s suggestions that the DEA

“systematically watered down” his right to counsel in a manner that violated the Sixth

Amendment. (Def.’s Mem. in Supp. of Obj. at 3.) The record reveals that although

McConnell was aware that he was represented by Messrs. Birrell and Dworak, he was

also aware of his right to speak with investigators notwithstanding that representation.

What is lacking from the record is clear evidence to show—as McConnell contends—that

the DEA agents with whom he interacted somehow deprived McConnell of access to his

attorneys or improperly steered him into making statements outside the presence of

counsel. Notably, at no time during the forty days between his April 19 interview with

Special Agent Mueller and his interviews on June 1 did McConnell attempt to reach out

to Birrell or Dworak—or any other attorney—despite having ample access to phone and

internet communications and the advice of friends and Canadian embassy officials. As

the Court has already noted, it is the defendant’s right at any time to waive representation

and speak to law enforcement—even if he is already represented. Montejo, 556 U.S. at

786. So long as his decision to do so is knowing, intelligent, and voluntary, the concerns

embodied in the Sixth Amendment are not implicated. A careful review of the record

before the Court shows that McConnell knowingly exercised this right, and his decision

to do so was not improperly influenced.          Accordingly, there was no error in the

magistrate judge’s determination, and McConnell’s objections as to his motions to

suppress statements are overruled.

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          2.      Objections Based on the Statutory Right to Presentment

       In addition to his constitutional objections, McConnell contends that the manner in

which he was first presented to a magistrate judge upon arrival in the United States

violated his procedural rights under the Federal Rules of Criminal Procedure.

Specifically, McConnell directs the Court’s attention to Rule 5, which generally requires

that upon arrest a defendant must be brought before a magistrate judge “without

unnecessary delay” and in the district where he was arrested. See Fed. R. Crim. P. 5(a),

(c). Before Judge Noel, McConnell argued that he was effectively arrested on April 19,

2016, when he was taken into custody by the Filipino authorities. Because he was not

presented to a magistrate judge until June 2, 2016, he claims that he was not promptly

presented as required by Rule 5. (See R&R at 13.) In addition, McConnell contends that,

pursuant to Rule 5(c)(2), he should have been presented to a magistrate judge in the

Central District of California (embracing Los Angeles), rather than the District of

Minnesota. On the basis of these perceived defects in proper procedure, he urges the

Court to dismiss the Indictment against him, or at the very least, suppress those

statements made in violation of his prompt right to presentment. (See Def.’s Mem. in

Supp. of Pretrial Mots. at 24, 40.)

       The Government attacks McConnell’s arguments on two fronts. First, it argues

that the procedural rights embodied by Rule 5 may be waived by the defendant, and that

McConnell did just that when he signed the waiver of prompt presentment and location of

presentment form at Los Angeles airport on June 1, 2016. (Gov’t Resp. at 30-36.)

Second, it claims that even if McConnell’s waiver is disregarded, he was still presented to

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a magistrate judge without undue delay and in full compliance with the requirements of

the Rule. (Id. at 44-45.)

       Considering the arguments of the parties, Judge Noel rejected the Government’s

first contention but accepted the second. Specifically, he concluded that a defendant

cannot waive the right to prompt presentment or to the location of that presentment,

making the form signed by McConnell ineffective. (R&R at 14, 16-17.) Nonetheless, the

magistrate judge determined that McConnell had been properly presented. Rejecting the

defendant’s arguments, he found that McConnell had been arrested for purposes of Rule

5 not on April 19, but on June 1, when he was transferred to the custody of the DEA at

Manila airport. Noting that the direct, thirteen-hour flight from Manila to Los Angeles

landed at approximately 7:00 PM local time—after the courts had closed—Judge Noel

concluded that McConnell could not have been presented to a magistrate judge before

June 2 in an event. (Id. at 16.) In light of this fact, the judge concluded that bringing

McConnell before a magistrate judge in Minnesota, in the first instance, did not result in

“unnecessary delay.” (Id. at 18.)

       Having carefully reviewed the record and the relevant statutory and case law, the

Court agrees with Judge Noel that McConnell’s Rule 5 rights were not violated. The

Court respectfully differs from the magistrate judge, however, in its reasoning. Although

it is true that neither the Eighth Circuit nor this Court have previously addressed the

matter, several courts have concluded that the procedural safeguards encompassed by

Rule 5 can indeed be waived by the defendant. See, e.g., United States v. Thompson, 772

F.3d 752, 762 (3d Cir. 2014) (observing that government could have sought a timely

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waiver of right to prompt presentment); United States v. Jacques, 744 F.3d 804, 815 (1st

Cir. 2014) (upholding effectiveness of waiver of prompt presentment); United States v.

McDowell, 687 F.3d 904, 910 (7th Cir. 2012) (declaring that “like other important rights,

the right to prompt presentment may be waived”); United States v. Cabrera, No. 05-cr-

1278 (NRB), 2008 WL 2803902, at *5 (S.D.N.Y. July 15, 2008) (“Delays attributable to

a defendant’s cooperation with law enforcement officials, particularly when the

defendant has knowingly and voluntarily waived his right to speedy presentment, have

been routinely found to be reasonable by the district courts in the Second Circuit.”)

Notably, courts have been particularly permissive of a defendant’s waiver of his

presentment rights when he has previously been given his Miranda warnings, as was the

case here. See United States v. Binder, 769 F.2d 595, 599 (9th Cir. 1985) (“A waiver of

Miranda rights constitutes a waiver of the rights under Rule 5.”); United States v.

Barlow, 693 F.2d 954, 959 (6th Cir. 1982) (“In the instant case appellant . . . waived his

Miranda rights before giving his statement to the FBI.         He now cannot seek the

protection of Rule 5(a).”). Because the Court concludes that these holdings are in

keeping with the general presumption in favor of a defendant’s right to waive his rights,

New York v. Hill, 528 U.S. 110, 114 (2000), it joins the broad consensus in favor of

upholding the validity of Rule 5 waivers.

      The question now becomes whether McConnell’s waiver of his Rule 5 rights was

knowing, intelligent, and voluntary. On review of the record, the Court concludes that it

was. Significantly, McConnell had been repeatedly apprised of his Miranda rights prior

to being presented with the waiver form, and no evidence exists to suggest that he was

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improperly coerced into signing it. Indeed, the record implies that—far from being

opposed to initial presentment in Minnesota—McConnell considered that to be the

preferable option. (See Mueller Aff. ¶ 15.) All told therefore, the Court concludes that

McConnell waived his rights under Rule 5, and cannot now seek suppression of any

statements on that basis. 2 See McDowell, 687 F.3d at 910 (“By giving up the right to

prompt presentment, [defendant] necessarily gave up the corresponding remedy . . . .”).

       Because the Court agrees with the Government on this issue, it need not consider

whether McConnell’s presentment was proper even absent the waiver.

       C.     Motions to Suppress Electronic Surveillance Evidence [Doc. Nos. 603,
              623]

       Finally, McConnell moves to suppress evidence seized pursuant to a search

warrant for the [xxx.xx]lamez@yahoo.com email account, on the basis that the warrant

was facially overbroad and lacking in the particularity necessary to establish probable

cause. (See Def.’s Mem. in Supp. of Pretrial Mots. at 31.) In response, the Government

argued before the magistrate judge that the search warrant was properly supported by

probable cause and contained limitations and specifications sufficient to render it not

overbroad. (See Gov’t Resp. at 51.) In the alternative, the Government contended that

the good-faith exception to the exclusionary rule articulated in United States v. Leon, 468

U.S. 897, 922 (1984), should apply.

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   Although McConnell urges the Court to consider dismissing the Indictment as
punishment for the alleged violation of his Rule 5 rights, the Eighth Circuit has made
clear that this remedy is not available for what is, ultimately, a procedural violation only.
See United States v. Chavez, 705 F.3d 381, 385-86 (8th Cir. 2013) (noting that the
“appropriate remedy” for a Rule 5 violation “would be suppression of the statements
made during that period, not dismissal of the indictment”).
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        Judge Noel ultimately agreed with the Government that the good-faith exception

under Leon precluded suppression of the evidence. (See R&R at 18.) Assuming without

deciding that the search warrant lacked probable cause, the magistrate judge examined

the four scenarios in which an officer’s reliance on a warrant would be unreasonable such

that suppression is required: (1) where the officer included information in the affidavit

that he knew was false or would have known was false except for his reckless disregard

for the truth; (2) where the affidavit is so lacking in probable cause that it is objectively

unreasonable for the officer to rely on it; (3) where the judge failed to act in a neutral and

detached manner; or (4) where the warrant is so facially deficient that the officer cannot

reasonably presume it to be valid. (R&R at 18-19 (citing United States v. Phillips, 88

F.3d 582, 586 (8th Cir. 1996).) Reviewing the warrant and the record evidence, the

magistrate judge concluded that none of these scenarios was implicated here. (R&R at

19.)

        The Court agrees. Even assuming that the search warrant lacked probable cause,

there is no evidence that the supporting affidavit included information that the testifying

agent knew to be false or should have known was false. Likewise, nothing in the record

suggests that the affidavit was so severely deficient in terms of probable cause as to make

reliance on it objectively unreasonable. Finally, there is no evidence that the issuing

judge failed to act in a neutral manner, or that the warrant is so facially deficient that it

would be unreasonable to presume its validity. Reliance on the issued warrant was not

unreasonable, and thus McConnell’s motion to suppress the evidence garnered from

search of the email account must be denied.

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IV.    ORDER

       Based on the foregoing, and all the files, records and proceedings herein, IT IS

HEREBY ORDERED that:

       1.    Defendant’s Objections to the Magistrate Judge’s December 23, 2016
             Report and Recommendation [Doc. No. 759] are OVERRULED;

       2.    Except where specifically indicated otherwise, the Court ADOPTS the
             Report and Recommendation [Doc. No. 744];

       3.    Defendant’s Motion to Suppress [Doc. No. 599] is DENIED as moot; and

       4.    Defendant’s Motions to Dismiss and Suppress [Doc. Nos. 600, 604, and 616]
             and Motions to Suppress Electronic Surveillance [Doc. Nos. 603 and 623] are
             DENIED.



Dated: January 30, 2017                        s/Susan Richard Nelson
                                               SUSAN RICHARD NELSON
                                               United States District Judge




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